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                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MARYLAND

     UNITED STATES OF AMERICA                *
                                             *
          v.                                 *    CRIM. NO. TDC-20-046
                                             *
     WILLIAM COX, a/k/a “Dollar,”            *
                                             *
                 Defendant.                  *
                                             *
                                          *******

                 GOVERNMENT’S SENTENCING MEMORANDUM

         The Government submits this memorandum in advance of the Defendant’s

 sentencing, scheduled for June 7, 2022 at 9 a.m. For the reasons set forth below, the

 Government requests that the Court sentence the Defendant to 33 months’ imprisonment,

 with the sentence to run consecutive to any term of imprisonment currently being served

 by the Defendant.

I.       Factual and Procedural Overview

         The Defendant was indicted along with 14 co-conspirators on February 5, 2020.

 The Defendant was charged with racketeering conspiracy, 18 U.S.C. § 1962(d), and

 conspiracy to distribute and possess with intent to distribute controlled substances, 21

 U.S.C. § 846.

         The aforementioned charges stemmed from the Defendant’s participation in a

 scheme to smuggle contraband into the Jessup Correctional Institution (“JCI”), which was

 made possible by bribes paid to certain JCI correctional officers and personal relationships


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      between those same correctional officers and certain JCI inmates. The indictment charged

      two correctional officers, six inmates, and seven so-called “ outside facilitators,” i.e.,

      individuals located outside the prison who supplied contraband and paid bribes to the

      correctional officers at the request of the inmates. As alleged in the indictment and

      described in the Stipulation of Facts to the Defendant’s plea agreement, part of the scheme

      was tied directly to the Defendant’s relationship with correctional officer (and co-

      Defendant) Dominique Booker, with whom the Defendant maintained a romantic

      relationship.

             As explained in more detail below, almost immediately after the Defendant was

      appointed counsel, the Defendant advised the Government, through counsel, that he wished

      to plea guilty. Because of the COVID-19 pandemic, however, the parties were not able to

      enter into a formal plea agreement until almost the end of 2021. The Defendant was finally

      arraigned before this Court on March 2, 2022, at which time he entered a plea of guilty as

      to Count One of the indictment (racketing conspiracy). See ECF No. 408.

             Sentencing is set for June 7, 2022 at 9 a.m.

II.          Guidelines Calculation

             The Government agrees with the Guidelines computation contained in both the plea

      agreement and the Pre-Sentence Report.           After taking into account the applicable

      enhancements and the Defendant’s acceptance of responsibility, the adjusted offense level

      is 18. In light of the Defendant’s criminal history category (category III), the applicable

      advisory Guidelines range is 33–41 months.

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III.          The Government’s Recommendation and Sentencing Factors under 18
              U.S.C. § 3553(a)

              Section 3553(a) of Title 18 provides that a sentencing court “shall impose a sentence

       sufficient, but not greater than necessary,” to (1) “reflect the seriousness of the offense, to

       promote respect for the law, and to provide just punishment for the offense”; (2) “afford

       adequate deterrence to criminal conduct”; (3) “protect the public from further crimes of the

       defendant”; and (4) “provide the defendant with needed educational or vocational training,

       medical care, or other correctional treatment in the most effective manner.” In addition to

       these sentencing goals, a sentencing court must take into account, among other things, (1)

       the history and characteristics of the defendant; (2) the nature and circumstances of the

       offense; and (3) “the need to avoid unwarranted sentence disparities among defendants

       with similar records who have been found guilty of similar conduct.” Id. In this case, the

       parties have entered into a written agreement pursuant to Federal Rule of Criminal

       Procedure 11(c)(1)(C), which calls for the Government to recommend a sentence of 33

       months’ imprisonment.        The Government submits that a sentence of 33 months

       imprisonment, while at the bottom of the advisory Guidelines range, is consistent with the

       factors and mandates set forth in Section 3553(a).

              There is no question that the conduct in this case is very serious, as it undermines

       the public’s faith in our criminal justice system. And the conduct with respect to this

       particular defendant is further aggravated by the fact that the Defendant was at the center

       of the scheme; after all, the Defendant was one of the two key inmates—the other being



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Darnell Smith a/k/a “Hook”—who maintained a close, personal relationship with a

correctional officer, which permitted the scheme to be carried out. (The Defendant’s role

at the center of this scheme is reflected in the Guidelines calculation, as the Defendant

should receive an enhancement for being an organizer, leader, manager, or supervisor in

the criminal activity.). In short, the nature and circumstances of the offense are aggravated,

and they call for a sentence of several years in prison.

       This Court has previously stated at sentencing proceedings in this matter that the

nature and circumstances of the offense conduct militates in favor of a sentence at or near

the top end of the advisory Guidelines range(s). (Of course, this Court has also noted that

the nature and circumstances of the offense conduct are just one component of the Section

3553(a) analysis.). Because the Government is recommending a sentence at the bottom of

the advisory Guidelines range for the Defendant, the Government will take this opportunity

to shed some additional light on its recommendation.

       There are two main reasons for the Government’s recommendation of 33 months’

imprisonment, and they are closely related to one another.

       First, the Government has recommend a sentence within the advisory Guidelines

range for every inmate-defendant to be sentenced in this case. Indeed, as indicated below,

the Government’s sentencing recommendations typically have been at or near the bottom

of the advisory Guidelines range:




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    Defendant            Guidelines            Government              Sentence Imposed
                          Range              Recommendation
Page Boyd              46–57 months              48 months                  48 months
Kenneth Fonseca        33–41 months              33 months                  33 months
Marshall Hill          46–57 months              50 months                  48 months
Darnell Smith          63–78 months              66 months                  63 months
William Cox            33–41 months              33 months                      --

The Government acknowledges, however, that it has not always made a recommendation

at the very bottom of the Guidelines range, which it is doing for the current defendant. This

leads to the Government’s second point.

       As alluded to above, the Defendant was one of the first two defendants in this case

to come forward and express a willingness to plead guilty, and he did so before much of

U.S. society was shut down due to the COVID-19 pandemic. At the time the Defendnat

expressed his willingness to accept responsibility and plead guilty, this was a significant

case development; in the Government’s view, a very early plea from one of the “lead”

defendants would have a ripple effect in the case writ large. As such, the Government

extended a plea offer at the bottom of what it calculated to be the bottom of the anticipated

Guidelines range, and defense counsel indicated the Defendant’s intent to accept it (again,

within weeks of the case being indicted). Unfortunately, societal shutdowns due to the

COVID-19 pandemic had the effect of gumming up the works in terms of case progression.

In short, the Government’s offer was informed, in part, by the timing of the Defendant’s

expression of his intent to plead guilty and the anticipated effect that would have on the


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rest of the defendants.

       Finally, the Government notes that, according to the Pre-Sentence Report, the

Defendant is projected to be released from Maryland state prison in 2037, which would

make him about 60 years old at the time of his release. Should the Court accept the parties’

proposed resolution and sentence the Defendant to 33 months’ imprisonment, consecutive

to his state sentence, the Defendant likely would be over the age of 62 when he is released

from prison. Certainly a sentence of imprisonment in this case is necessary to “reflect the

seriousness of the offense, to promote respect for the law, and to provide just punishment

for the offense,” but a sentence of imprisonment more than 33 months likely would not

advance—at least meaningfully—the other goals of sentencing, such as promoting

deterrence and protecting the public from future crimes of the Defendant.

   IV.        Conclusion

       In light of all of the factors set forth above, the Government recommends that the

Defendant be sentenced to 33 months’ imprisonment (consecutive to any term of

imprisonment currently being served by the Defendant). The Government submits that

such a sentence would be sufficient but not greater than necessary to accomplish the

purposes of sentencing under the § 3553(a) factors.

                                                 Very truly yours,

                                                 Erek L. Barron
                                                 United States Attorney

                                                 ____________________________
                                                 Christopher M. Rigali

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